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                    UNITED STATES BANKRUPTCY COURT
                        DISTRICT OF CONNECTICUT

                                                            APPEARANCE

                                             CASE NUMBER: 06-30183 lmw

To the Clerk of this court and all parties of record:

      Enter my appearance as counsel in this case for:

      Hamden Associates

February 28, 2006
Date                                                         Signature

05254                                                       Steven R. Rolnick
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                              CERTIFICATION OF SERVICE

      This is to certify that the foregoing Appearance was mailed on this date to the following:

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